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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:06CR3040
          v.                        )
                                    )
NOE GUSTAVO CHAVEZ LOYA,            )
                                    )
                Defendant.          )                    ORDER
                                    )



     IT IS ORDERED:

     1. The motion of counsel for defendant to withdraw, filing
63, is granted. The Federal Public Defender for the District of
Nebraska shall provide the court with a draft appointment order
(CJA Form 20) for substitute counsel bearing the name and other
identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

     2. The court finds that the ends of justice will be served
by granting the motion, and a period of thirty days, that is, the
time between October 13, 2006 and November 13, 2006 shall be
excluded from the calculation of speedy trial time for the reason
that it is more important for the defendant to be represented by
an attorney who is fully informed and prepared for trial than it
is for the defendant to have a speedy trial, and that failure to
extend the trial date might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     3. The change of plea hearing that was set for October 20,
2006 is cancelled.

     DATED this 13th day of October, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
